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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE DISTRICT OF ARIZONA
 9
     United States of America,
10
                             Plaintiff,                         CR-24-0355-PHX-SPL
11
             vs.                                      GOVERNMENT’S MOTION IN LIMINE
12                                                      TO EXCLUDE DEFENDANT’S
     Larry Edward Brown, Jr.,                             HEARSAY STATEMENTS
13
                            Defendant.
14
15          Now comes the United States of America, by and through its undersigned attorneys,
16   and hereby submits this Motion in limine to exclude introduction of hearsay statements by
17   the defendant.
18          The Federal Rules of Evidence define hearsay as a statement by the declarant that
19   was not made while testifying at the current trial, and that is offered in evidence to prove
20   the truth of the matter asserted. Rule 801(c), Fed. R. Evid. Hearsay is not admissible unless
21   subject to an exception. Rule 802, Fed. R. Evid. A defendant’s non-self-inculpatory
22   statements are inadmissible hearsay. United States v. Ortega, 203 F.3d 675, 682 (9th Cir.
23   2000); Williamson v. United States, 512 U.S. 594, 599-600 (1994). Allowing a defendant
24   to place his exculpatory statements before the jury without subjecting himself to cross-
25   examination is “precisely what the hearsay rule forbids.” United States v. Fernandez, 839
26   F.2d 639, 640 (9th Cir. 1988).
27          For the reasons discussed, the government respectfully requests an order by the
28   Court that the defendant be precluded from introducing his hearsay statements through
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 1   cross-examination of the government witnesses, through direct examination of any defense
 2   witnesses other than the defendant himself, or from referencing such statements in defense
 3   counsel’s opening statement.
 4   PROPOSED LANGUAGE
 5          Should the Court grant this motion in limine, the government respectfully requests
 6   that the Court include the following language in its order:
 7          The Defendant, Larry Edward Brown, Jr., is precluded from introducing his hearsay
 8   statements through cross-examination of the government witnesses, through direct
 9   examination of any defense witness other than the defendant himself, and during defense
10   counsel’s opening statement.
11          Respectfully submitted this 14th day of January 2025.
12
                                               GARY M. RESTAINO
13                                             United States Attorney
                                               District of Arizona
14
                                               s/Monica E. Ryan
15                                             s/Nathaniel J. Walters

16                                             MONICA E. RYAN
                                               NATHANIEL J. WALTERS
17                                             Assistant United States Attorneys

18
     Copy of the foregoing served electronically or by
19   other means this 14th day of January 2025, to:
     All ECF Participants
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